McGuireWoods LLP
World Trade Center

101 West Main Street
Suite 9000

Norfolk, VA 23510-1655
Tel 757.640.3700

Fax 757.640.3701
www.mecguirewoods.com

Benjamin L. Hatch bhatch@®mcguirewoods.com

Direct: 757.640.3731 McGUIREWOODS Fax: 757.640.3947

October 4, 2018

Fernando Galindo, Clerk
Walter E. Hoffman
United States Courthouse
600 Granby Street
Norfolk, VA 23510

Re: CSX TRANSPORTATION, INC., individually and on behalf of NORFOLK
& PORTSMOUTH BELT LINE RAILROAD COMPANY
v.
NORFOLK SOUTHERN RAILWAY COMPANY, NORFOLK &
PORTSMOUTH BELT LINE RAILROAD COMPANY,
JERRY HALL, THOMAS HURLBUT,
PHILIP MERILLI, and CANNON MOSS

Dear Mr. Galindo:

Attached to this Complaint are proposed summons forms for the corporate defendants,
Norfolk Southern Railway Company and Norfolk & Portsmouth Beltline Railroad Company, As
to the individual defendants, Jerry Hall, Thomas Hurlbut, Philip Merilli, and Cannon Moss,
Plaintiff intends to seek a waiver of service of process, and will file proposed summons if unable
to obtain waivers.

Thank you for your assistance.

Sincerely,
Benjamin L, Hatch
BLH/mgm

Enc.

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